           Case 1:20-cv-11241-FDS Document 4 Filed 09/23/20 Page 1 of 2




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


PLAZA DELI, INC. d/b/a                                 )       CIVIL ACTION NO.
PLAZA CATERING and DISCOVERY CAFE,                     )       1:20-cv-11241
      Plaintiff,                                       )
                                                       )
v.                                                     )
                                                       )
NAUTILUS INSURANCE COMPANY,                            )
      Defendant.                                       )

                   NOTICE OF VOLUNTARILY DISMISSAL WITHOUT PREJUDICE
                               (FED. R. CIV. P. 41(a)(1)(A)(i))

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Plaintiff voluntarily

dismisses this action without prejudice, specifically reserving its right to refile at a later date.




                                               Respectfully submitted,
                                               Plaza Deli, Inc. d/b/a Plaza Catering and
                                               Discovery Cafe,
                                               By its attorneys,

                                               /s/ Kathy Jo Cook
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                                               /s/ John T Martin
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          Case 1:20-cv-11241-FDS Document 4 Filed 09/23/20 Page 2 of 2




                                   CERTIFICATE OF SERVICE

       I, Benjamin H. Duggan, hereby certify that on this 23rd day of September, 2020, I served
the foregoing document on all counsel of record via ECF.

                                            /s/ Benjamin H. Duggan
                                            Benjamin H. Duggan




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